       Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 1 of 7



                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA                               MAY 1 t Z017
                           BILLINGS DIVISION                              Clerk, U S District Court
                                                                            District CH Montana
                                                                                   Bjllings



UNITED STATES OF AMERICA,                       Cause No. CR 13-26-BLG-SPW
                                                          CV 17-62-BLG-SPW
             Plaintiff/Respondent,

      vs.                                     ORDER DENYING § 2255 MOTION
                                              AND DENYING CERTIFICATE OF
TOMAS ALVARADO,                                     APPEALABILITY

             Defendant/Movant.


      This case comes before the Court on Defendant/Movant Tomas Alvarado's

motion to vacate, set aside, or correct his sentence, pursuant to 28 U.S.C. § 2255.

Alvarado is a federal prisoner proceeding pro se.

      Background

      Alvarado pied guilty to one count of conspiring to possess at least 500 grams

of a substance containing methamphetamine with intent to distribute it, a violation

of21 U.S.C. § 841(a)(l). On October 21, 2013, Alvarado was sentenced to serve

360 months in prison, to be followed by a five-year term of supervised release.

Judgment (Doc. 133) at 1-3. Alvarado appealed, but the appeal was dismissed as

waived by the plea agreement. See Mem. (Doc. 157) at 2.

      In April 2015, Alvarado filed a motion to reduce his sentence under 18

U.S.C. § 3582(c)(2) and Amendments 782 and 788 to the United States Sentencing

                                          1
        Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 2 of 7



Guidelines. The motion was denied. Alvarado again appealed, but the appellate

court affirmed denial of the motion. See Mot.§ 3582 (Doc. 167) at 1-2; Am.

Judgment (Doc. 177) at 1; Statement of Reasons (Doc. 178) at 1; Mem. (Doc. 213)

at 2.

        Rule 4 Review

        A§ 2255 motion is subject to preliminary review to determine whether "the

motion and the files and records of the case conclusively show that the prisoner is

entitled to no relief." 28 U.S.C. § 2255(b); see also Rule 4(b), Rules Governing

Section 2255 Proceedings for the United States District Courts. A petitioner "who

is able to state facts showing a real possibility of constitutional error should survive

Rule 4 review." Calderon v. United States Dist. Court, 98 F.3d 1102, 1109 (9th

Cir. 1996) ("Nicolaus") (Schroeder, C.J., concurring) (referring to Rules

Governing § 2254 Cases).

        Alvarado filed his motion under 28 U.S.C. § 2255 on May 9, 2017. The

motion is likely untimely, see 28 U.S.C. § 2255(±), but there is no need to give

Alvarado an opportunity to respond on that basis, see Wentzell v. Neven, 674 F.3d

1124, 1126 (9th Cir. 2012). Viewing his allegations in light of the existing record

of the case, he is not entitled to relief on the merits.

        Recusal

        In his motion under 28 U.S.C. § 2255, Alvarado alleges that Judge Haddon

                                             2
       Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 3 of 7



should have recused himself or defense counsel should have filed a motion for

recusal. See Mot. § 2255 (Doc. 255) at 4 ifif 5A, 5B. 1 Alvarado claims the Judge

made remarks at his sentencing hearing to the effect that "he would give the

maximum sentence to anyone who association [sic] with methamphetamine

because of something that happen[ ed] to his family member nearly a decade

earlier." Mot. § 2255 (Doc. 255) at 13. The transcript shows that Judge Haddon

did not say anything like that. As for "the comments the Judge made when ruling"

in Alvarado's case, see id., they did not demonstrate the kind of bias or prejudice

that would have required or even supported recusal. See Sentencing Tr. (Doc.

140),passim; see also Change of Plea Tr. (Doc. 144),passim.

       Alvarado's motion points to only one potential factual basis for Judge

Haddon's recusal: "threats against the sen[t]encingjudge," although Alvarado

says he "never made" them. See Mot.§ 2255 (Doc. 255) at 9. Threatening a judge

does not necessarily require the judge's recusal, but a threat might support recusal.

See, e.g., United States v. Spangle, 626 F.3d 488, 495-97 (9th Cir. 2010); United

States v. Holland, 519 F.3d 909, 914-15 (9th Cir. 2008); see also Mot.§ 2255 at 9

(alleging that counsel said the judge "had to remove himself' due to "a conflic[t]

of in[t]erest"); see also U.S. Resp. to§ 3582 Mot. (Doc. 171) (under seal); Br. in

Supp. of§ 3582 Mot. (Doc. 174) (under seal).

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        Alvarado's§ 2255 motion also states, "The appellate court vacated the sentence and
remanded for resentence." Mot. § 2255 at 6 if SC. This is not correct.
                                              3
       Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 4 of 7



      But there was no evidence that Alvarado took any steps against Judge

Haddon until shortly after Alvarado's sentencing, in October or November 2013,

when a witness gave a statement. See, e.g., U.S. Resp. to§ 3582 Mot. (Doc. 171)

(under seal); Br. in Supp. of§ 3582 Mot. (Doc. 174) (under seal). The § 3582

motion was filed in April 2015, well after sentencing, but Judge Haddon did not

preside. The case had been reassigned in January 2014 for administrative reasons.

See Order (Doc. 151 ).

      Alvarado does not identify any basis on which Judge Haddon should have

recused himself. Nor does he identify any basis that should have prompted counsel

to file a motion to recuse.

      Five- to Six-Year Sentence

      Implicitly, Alvarado's§ 2255 motion alleges he had some entitlement to a

sentence substantially lower than 360 months. He contends that, on August 26,

2013, his attorney and the probation officer "came to Shelby prison to give me my

pre-sentencing review and he was recommending five to six years." Mot. § 2255

at 9 (emphasis added). It is not clear who "he" is, but, regardless, Alvarado's

guilty plea triggered a statutory mandatory minimum sentence of ten years. See

Plea Agreement (Doc. 56) at 2 if 2. A sentence of five to six years was possible

only if the sentencing court found the mandatory minimum sentence was the

appropriate sentence, the United States filed a motion to reduce that sentence by

                                         4
           Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 5 of 7



half, see U.S.S.G. § 5Kl.l; 18 U.S.C. § 3553(e), and the sentencing court chose to

follow the United States' recommendation. No other recommendation could have

resulted in a five to six year sentence. 2

       Moreover, Alvarado does not allege he believed this recommendation,

whoever made it, would probably determine the sentence. In fact, the record

shows he knew there were no guarantees. At the time of his guilty plea, Alvarado

knew there was a ten-year mandatory minimum and that the maximum available

sentence was life in prison. See Change of Plea Tr. (Doc. 144) at 14:2-11. He

knew he would not be entitled to withdraw his guilty plea if he was sentenced to

something he did not expect. See id. at 7:18-8:12, 27:1-10. And he stated that no

one had made any promises or offered any inducement or "side deal," other than

the matters expressed in the plea agreement, to persuade him to plead guilty. See

id. at 23:2-24:3. All that being true, even assuming that someone made a five- to

six-year recommendation, that recommendation did not create an entitlement to a

five- to six-year sentence.

       Most fundamentally, Alvarado does not seek to withdraw his guilty plea and

go to trial. He seeks only a lesser sentence. See Mot. § 2255 at 5 if 6. Since he

stated at the change of plea hearing that no one promised him a particular sentence,

       2
          The presentence interview is generally the time when defense counsel and the
probation officer meet with the defendant. See Fed. R. Crim. P. 32(c)(2). Defense counsel's
time sheets for the case show that the presentence interview occurred at Shelby on August 23,
2013. At the time of the interview, no one makes a recommendation of any significance.
                                               5
       Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 6 of 7



and since he does not now say he would not have pled guilty but for a misguided

belief that his sentence would be "five to six years," see, e.g., Hill v. Lockhart, 474

U.S. at 52, 59-60 (1985), Alvarado's allegation about this much shorter sentence

provides no support for further proceedings under§ 2255.

      Conclusion

      Alvarado's§ 2255 motion does not identify any fact or circumstance that

could entitle him to a lesser sentence than the one he received. Nor does it suggest

any potential factual support for vacating the judgment so that the sentence may be

reconsidered. The Court has considered whether Alvarado should be permitted to

amend his motion, whether counsel should be appointed, and whether the record of

the case should be further developed. But these steps are not necessary because

Alvarado's motion does not "state facts showing a real possibility of constitutional

error." Nicolaus, 98 F.3d at 1109.

      Certificate of Appealability

      A certificate of appealability is not warranted. Alvarado's motion does not

make a showing of any substance that he was deprived of a constitutional right.

Reasonable jurists would find no basis to encourage further proceedings. See 28

U.S.C. § 2253(c)(2); Gonzalez v. Thaler, 565 U.S. 134, 150 (2012); Miller-El v.

Cockrell, 537 U.S. 322, 327 (2003).


      Accordingly, IT IS HEREBY ORDERED as follows:
                                          6
       Case 1:13-cr-00026-SPW Document 258 Filed 05/16/17 Page 7 of 7



      1. Alvarado's motion to vacate, set aside, or correct the sentence under 28

U.S.C. § 2255 (Doc. 255) is DENIED;

      2. A certificate of appealability is DENIED. The Clerk of Court shall

immediately process the appeal if Alvarado files a Notice of Appeal;

      3. The Clerk of Court shall ensure that all pending motions in this case and

in CV 17-62-BLG-SPW are terminated and shall close the civil file by entering

judgment in favor of the United States and against Alvarado.

      DATED this     /~~of May, 2017.


                                     ~11-J~
                                    /Sl1Sal1P:Wattds
                                      United States District Court




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